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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

STEPHEN M. GRUVER                                    CIVIL ACTION NO. 18-CV-772
and RAE ANN GRUVER,                                  SDD-EWD
Individually and on behalf of
MAXWELL R. GRUVER, deceased                          JUDGE SHELLY D. DICK

v.                                                   MAGISTRATE JUDGE ERIN
                                                     WILDER-DOOMES
STATE OF LOUISIANA THROUGH
THE BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY AND
AGRICULTURAL AND MECHANICAL
COLLEGE, ET AL

                                            ORDER

       Considering the Joint Motion to Voluntarily Dismiss Claims against Defendant Zachary

A. Castillo with Prejudice filed jointly by Plaintiffs, Stephen M. Gruver and Rae Ann Gruver,

individually and on behalf of Maxwell R. Gruver, deceased, and Defendant, Zachary A. Castillo;

       IT IS HEREBY ORDERED that the Joint Motion is GRANTED, and Plaintiffs’ claims

against Defendant, Zachary A. Castillo, in the above-captioned matter are dismissed, with

prejudice, and with each party to bear its own costs; and

       IT IS FURTHER ORDERED that this Order applies only to Plaintiffs’ claims against

Hudson Castillo. Plaintiffs’ claims remain active and pending against all other Defendants with

whom Plaintiffs have not settled.



                                     20th
       Baton Rouge, Louisiana this _________ day of ___________,
                                                     Novmeber 2019.



                                S
                       _________________________________________
                                JUDGE SHELLY D. DICK
                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA
